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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION




UNITED STATES OF AMERICA       :  CRIMINAL NO. 1:12-CR-054-2
                               :
                               :  JUDGE MICHAEL R. BARRETT
           v.                  :
                               :  GOVERNMENT’S RESPONSE TO
                               :  DEFENDANT’S MOTION FOR
CHRISTOPHER STEGAWSKI          :  DISCOVERY
                               :
                   --------------------------


       The Government by and through counsel hereby responds to the defendant’s motion for

discovery and submits that discovery has been complied with within the purview of Rule

16(a)(1)(A)(B)(C) and (D) of the Federal Rules of Criminal Procedure. To the extent that

defendant should file a request that exceeds the parameters of the Rule, it is opposed. Additional

materials will be provided as they become available.

                                                       Respectfully submitted,

                                                       CARTER M. STEWART
                                                       United States Attorney


                                                       s/Timothy D. Oakley
                                                       TIMOTHY D. OAKLEY (0039965)
                                                       Assistant United States Attorney
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                                       MEMORANDUM

       The United States will provide what information it has in its’ possession under the

following areas as described in the separate headings. The Governments position regarding each

category follows:

       1. Defendant's statements: The defendant made a statement to law enforcement that has

been provided to counsel.

       2. Defendant's prior record: The defendant's prior record has been turned over to

counsel.

       3. Request for documents: The Government has made available all of the discoverable

investigative reports, recordings, and photographs available at the time of this response. The

United States reserves the right to supplement any additional information and discovery when

and if it is received by the United States. The United States would submit that it intends to use

any material disclosed to include but not limited to: any photographs taken during the

investigation, any audio recordings of the defendants made during undercover operations along

with transcripts, any record of payment, patient logs, patient file, patient log and receipt book,

and any other document produced in the discovery as well as expert and lay opinions. This is to

include any report from the Ohio Board of Pharmacy, Internal Revenue Service and other law

enforcement agencies.

       4. Reports of tests: The United States gives notice that it intends to call expert

testimony to discuss the lack of a legitimate medical necessity of the prescriptions and that the

defendant’s actions were outside the scope of legitimate medical practice.

       5. Grand Jury transcripts. The Government will provide copies of Grand Jury and

preliminary transcripts of witnesses in its possession at trial in accordance with the Jencks Act.


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18 U.S.C. § 3500. The Government will provide Jencks Act material at the appropriate time.

United States v. Algie, 667 F.2d 569 (6th Cir. 1982).

        6. Exculpatory material: The Government is mindful of its obligation to provide

favorable evidence to the defendant and will provide any such material prior to the witness

testifying.

        The United States makes a demand for all discoverable material pursuant to Federal

Criminal Rule 16(b)(1).

                                                        Respectfully submitted,

                                                        CARTER M. STEWART
                                                        United States Attorney


                                                        s/Timothy D. Oakley
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                                 CERTIFICATE OF SERVICE

I hereby certify that the foregoing was filed with the Court=s CM/ECF System this 10th day of

September, 2014, which provides electronic notice to all parties.

                                                        s/Timothy D. Oakley
                                                        TIMOTHY D. OAKLEY
                                                        Assistant United States Attorney




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